Case 0:25-cv-60447-PMH Document 6 Entered on FLSD Docket 03/10/2025 Page 1 of 1
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                                              U .S,District Court

                                         Florida Southern -FortLauderdale
                                                                                         ReceiptDate:Marl0,2025 10:26AM
Davi
   d Clayman
7930 Pal
       acio DelMarDR
Boca Raton'FL 33433


 Rcpt.No:19831                           Trans.Date.Mar1O,202510.
                                                                .26AM                                     CashlerID:#CC (6882)
 CD     Purpose                             Case/pa fDefendant                 Qty                       Price                    Amt
 200    CivllFillng Fee-Non-pri
                              soner                                              1                     405-00                  405.00



 CD
                                                                                                                             $405.00
                                                                TotalDuePn'ortoPayment:                                      $405.00
                                                                            TotalTendered'
                                                                                         .                                   $405.00
                                                                                             ***+*>********+@*******@@****@**@@**@@*****@
                                                                        TotalCashReceived'
                                                                                         .                                      $0.00
                                                                                             ************#******:****$************e*****#
                                                                    Cash ChangeAmount:                                          $0.00

 Comments:25CV60447


 Checksanddraff.
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 financialinsti
              tueononwhich itwasdrawn.




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                                                                                          ANGELA E.NOBLE
                                                                                         cLERK U.s.DIsT.cl
                                                                                        s.D.OF FLA.-FT.LAUD ,
